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 8
                                 UNITED STATES DISTRICT COURT
 9                             SOUTHERN DISTRICT OF CALIFORNIA
10
     MARCO HERNANDEZ, an individual,             ) Case No.: '16CV0886 L NLS
11                                               )
12                Plaintiff,                     ) COMPLAINT AND DEMAND FOR
                                                 ) JURY TRIAL
13
     v.                                          )
14                                               )
15
     EXPERIAN INFORMATION                        )
     SOLUTIONS, INC., a corporation; and         )
16   DOES 1 through 10 inclusive,                )
17                                               )
                   Defendants.                   )
18
                                                 )
19                                      I. INTRODUCTION
20          1.    This is an action for damages brought by an individual consumer against
21   Defendants for damages pursuant to 15 U.S.C. §1681 et seq. (Fair Credit Reporting Act
22   “FCRA”) and the California Consumer Credit Reporting Agencies Act, Civil Code §1785.1
23   et seq. (“CCRAA”) both of which prohibit unlawful credit reporting.
24
25                                     II. PARTIES & VENUE
26          2.    Plaintiff MARCO HERNANDEZ is a natural person residing in Chula Vista,
27   CA.
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 1         3.     Defendant EXPERIAN INFORMATION SOLUTIONS, INC. (“EXPERIAN”)
 2   at all times relevant was a limited liability corporation doing business in San Diego County,
 3   California operating from an address at 475 ANTON BLVD., COSTA MESA, CA 92626.
 4   EXPERIAN is a “consumer reporting agency” as defined by 15 U.S.C. §1681a(f) and is
 5   regularly engaged in the business of assembling, evaluating, and disbursing information
 6   concerning consumers for the purposes of furnishing consumer reports, as defined in 15
 7   U.S.C. §1681a(d) to third parties. EXPERIAN disburses such consumer reports to third
 8   parties under contract for monetary compensation.
 9         4.     The true names and capacities, whether individual, corporate (including officers
10   and directors thereof), associate or otherwise of Defendants sued herein as DOES 1 through
11   10, inclusive, are unknown to Plaintiff, who therefore sues these Defendants by such
12   fictitious names.    Plaintiff is informed and believes, and alleges that each Defendant
13   designated as a DOE is involved in or is in some manner responsible as a principal,
14   beneficiary, agent, co-conspirator, joint venturer, alter ego, third party beneficiary, or
15   otherwise, for the agreements, transactions, events and/or acts hereinafter described, and
16   thereby proximately caused injuries and damages to Plaintiff. Plaintiff requests that when
17   the true names and capacities of these DOE Defendants are ascertained, they may be inserted
18   in all subsequent proceedings, and that this action may proceed against them under their true
19   names.
20         5.     Venue in this District is proper in that the Defendants transact business here and
21   the Plaintiff resides here.
22
23                             III. FACTUAL ALLEGATIONS
24         6.     At a time unknown, Plaintiff’s personal information was stolen.
25         7.     An individual later surreptitiously filed a fraudulent bankruptcy petition forging
26   Plaintiff’s signature.    Plaintiff disputes that he filed the Chapter 7 Bankruptcy (the
27   "Bankruptcy").
28         8.     EXPERIAN is erroneously reporting the Bankruptcy on Plaintiff’s credit file


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 1   under United States Bankruptcy Court, San Diego, CA.
 2         9.      The information EXPERIAN is reporting is false as Plaintiff never filed for
 3   Chapter 7 Bankruptcy in the United States Bankruptcy Court, San Diego, CA.
 4         10.     Plaintiff disputed the false information with EXPERIAN in writing as he did
 5   not file the Bankruptcy.          The Bankruptcy Trustee further provided EXPERIAN
 6   correspondence indicating that Plaintiff did not file the bankruptcy.
 7         11.     EXPERIAN failed to conduct reasonable investigations into the dispute alleged
 8   by Plaintiff and continued to report the inaccurate Bankruptcy on his credit file.
 9         12.     EXPERIAN negligently produced consumer reports with respect to Plaintiff’s
10   credit that contain the false information.
11         13.     EXPERIAN further negligently failed to maintain reasonable procedures
12   designed to avoid the reporting of the false information.
13         14.     As a result of Defendant’s conduct, Plaintiff’s credit worthiness has been
14   damaged.
15         15.     Plaintiff further suffered from frustration and emotional distress.
16
17                                   IV. FIRST CLAIM FOR RELIEF
18                         (Against All Defendants for Violations of the FCRA)
19         16.     Plaintiff repeats, realleges, and incorporates by reference all of the foregoing
20   paragraphs.
21         17.     EXPERIAN violated 15 U.S.C. §1681e(b) by failing to establish or to follow
22   reasonable procedures to assure maximum possible accuracy in the preparation of the credit
23   report and credit files it published and maintains concerning Plaintiff.
24         18.     EXPERIAN violated 15 U.S.C. §1681i by failing to delete inaccurate
25   information in the Plaintiff’s credit file after receiving actual notice of such inaccuracies; by
26   failing to conduct a lawful reinvestigation; by failing to forward all relevant information to
27   the furnisher; and by failing to maintain reasonable procedures with which to filter and
28   verify disputed information in the Plaintiff’s credit file.


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 1           19.   The Defendant’s unlawful conduct damaged Plaintiff as referenced above.
 2           20.   The Defendant’s unlawful conduct was willful.
 3           21.   Plaintiff is entitled to recover damages under 15 U.S.C. §§1681n and/or 1681o.
 4           22.   Plaintiff is further entitled to recover costs and attorneys’ fees from EXPERIAN
 5   pursuant to 15 U.S.C. §§1681n and/or 1681o.
 6
 7                              V.    SECOND CLAIM FOR RELIEF
 8                       (Against All Defendants for Violation of the CCRAA)
 9           23.   Plaintiff repeats, realleges, and incorporates by reference all of the foregoing
10   paragraphs.
11           24.   Defendants violated the CCRAA, by including but not limited to, the following:
12                 (a)   Defendants violated California Civil Code §1785.14(b) by failing to
13                       follow reasonable procedures to assure maximum possible accuracy of
14                       the information concerning Plaintiff; and
15                 (b)   Defendants violated California Civil Code §1785.16 by failing to conduct
16                       a reasonable reinvestigation to determine whether the dispute information
17                       is inaccurate, or delete the item from the file.
18           25.   Defendants’ acts as described above were done negligently and/or intentionally.
19           26.   As a proximate result of Defendants’ violations enumerated above, Plaintiff
20   has been damaged in amounts which are subject to proof.
21           27.   Defendants’ violations were willful and knowing. Defendants are therefore
22   liable to Plaintiff for Plaintiff’s actual damages, statutory damages, and attorney’s fees and
23   costs pursuant to California Civil Code §1785.31.
24   ////
25   ////
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 1         WHEREFORE, Plaintiff respectfully requests that judgment be entered against
 2   Defendant, and each of them, for the following:
 3               (a) Actual damages;
 4               (b) Punitive damages;
 5               (c) Statutory damages;
 6               (d) Costs and reasonable attorney’s fees; and
 7               (e) For such other and further relief as the Court may deem just and proper
 8               including but not limited to an order to correct the inaccurate credit information.
 9
10
11   Date: April 12, 2016                   /s/ Octavio Cardona-Loya II        .
                                            Octavio Cardona-Loya II,
12                                          Attorney for Plaintiff
13
14                                  DEMAND FOR JURY TRIAL
15         Please take notice that Plaintiff demands trial by jury in this action.
16
17
     Date: April 12, 2016                   /s/ Octavio Cardona-Loya II        .
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                                            Octavio Cardona-Loya II,
19                                          Attorney for Plaintiff
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